Case 1:17-cr-00032-TSK-MJA Document 661 Filed 10/19/17 Page 1 of 4 PageID #: 2706



                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                       Plaintiff,

        v.                                         CRIMINAL NO. 1:17CR32-30
                                                        (Judge Keeley)

  THOMAS KEENER, II,

                       Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 600),
      ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        On       October    5,    2017,   the     defendant,    Thomas   Keener,    II

  (“Keener”), appeared before United States Magistrate Judge Michael

  J. Aloi and moved for permission to enter a plea of GUILTY to Count

  Forty-Seven of the Superseding Indictment. After Keener stated that

  he understood that the magistrate judge is not a United States

  district judge, he consented to tendering his plea before the

  magistrate judge. Previously, this Court had referred the guilty

  plea to the magistrate judge for the purposes of administering the

  allocution pursuant to Federal Rule of Criminal Procedure 11,

  making     a    finding    as    to   whether    the   plea   was   knowingly    and

  voluntarily entered, and recommending to this Court whether the

  plea should be accepted.

        Based upon Keener’s statements during the plea hearing and the

  testimony of Mark Trump, Detective, Morgantown Police Department,
Case 1:17-cr-00032-TSK-MJA Document 661 Filed 10/19/17 Page 2 of 4 PageID #: 2707



  USA v. KEENER                                                      1:17CR32-30

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 600),
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  the magistrate judge found that Keener was competent to enter a

  plea, that the plea was freely and voluntarily given, that he was

  aware of the nature of the charges against him and the consequences

  of his plea, and that a factual basis existed for the tendered

  plea. On October 5, 2017, the magistrate judge entered a Report and

  Recommendation Concerning Plea of Guilty in Felony Case (“R&R”)

  (dkt.     no.   600)   finding   a   factual   basis   for   the    plea   and

  recommending that this Court accept Keener’s plea of guilty to

  Count Forty-Seven of the Superseding Indictment.

          The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. He further advised that failure to file

  objections would result in a waiver of the right to appeal from a

  judgment of this Court based on the R&R. The parties did not file

  any objections to the R&R.

          Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Keener’s guilty plea, and ADJUGES him GUILTY of the crime

  charged in Count Forty-Seven of the Superseding Indictment.

          Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it



                                         2
Case 1:17-cr-00032-TSK-MJA Document 661 Filed 10/19/17 Page 3 of 4 PageID #: 2708



  USA v. KEENER                                                  1:17CR32-30

        ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
          CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 600),
           ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

  has received and reviewed the presentence report prepared in this

  matter.

          Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

          1.   The Probation Officer shall undertake a presentence

  investigation of Keener, and prepare a presentence report for the

  Court;

          2.   The Government and Keener shall provide their versions of

  the offense to the probation officer by October 26, 2017;

          3.   The presentence report shall be disclosed to Keener,

  defense counsel, and the United States on or before December 26,

  2017;    however,   the   Probation   Officer   shall   not   disclose   any

  sentencing recommendations made pursuant to Fed. R. Crim. P.

  32(e)(3);

          4.   Counsel may file written objections to the presentence

  report on or before January 9, 2018;

          5.   The Office of Probation shall submit the presentence

  report with addendum to the Court on or before January 16, 2018;

  and




                                        3
Case 1:17-cr-00032-TSK-MJA Document 661 Filed 10/19/17 Page 4 of 4 PageID #: 2709



  USA v. KEENER                                                  1:17CR32-30

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 600),
        ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        6.    Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the

  factual basis from the statements or motions, on or before January

  16, 2018.

        The magistrate judge remanded Keener to the custody of the

  United States Marshal Service the released him according to an

  order dated October 6, 2017 (dkt. no. 603).

        The   Court   will   conduct    the   sentencing   hearing   for   the

  defendant on Wednesday, February 7, 2018 at 12:15 P.M. at the

  Clarksburg, West Virginia point of holding court.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record and all appropriate agencies.

  DATED: October 19, 2017


                                       /s/ Irene M. Keeley
                                       IRENE M. KEELEY
                                       UNITED STATES DISTRICT JUDGE




                                         4
